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                           EXHIBIT G
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 In re:                                                ) Chapter 11
                                                       )
 GALLERIA 2425 OWNER, LLC,                             ) Case No. 23-34815
                        Debtor.                        )
                                                       )
 NOTICE OF DEPOSITION OF AND SUBPOENA DUCES TECUM TO THE DEBTOR

          PLEASE TAKE NOTICE that Christopher R. Murray, the chapter 11 trustee in the above-
captioned case (the “Trustee”) intends to take the deposition (the “Deposition”) upon oral
examination of Galleria 2425 Owner, LLC (the “Deponent”) pursuant to Fed. R. Civ. P. 30(b)(6)
in connection with the confirmation of the Chapter 11 Plan of Liquidation of the Debtor by
National Bank of Kuwait S.A.K.P., New York Branch [Dkt No. 194] and any other contested
matter pending in the above-captioned case on June 12, 2024, at 10:00 a.m., or other such time
and location agreed upon by the parties, and shall continue day to day, excluding weekends and
holidays unless otherwise agreed to by the parties, until completed. The Deposition will be
conducted at the offices of Jones & Murray LLP, 602 Sawyer Street, Suite 400, Houston, Texas
77007. The Deponent is requested to designate the person or persons most knowledgeable and
prepared to testify on behalf of the Deponent concerning the subject matter described in
Attachment A hereto.

          PLEASE TAKE FURTHER NOTICE that the Deposition will be recorded by stenographic
means. The stenographic recording will be taken before Veritext, 4295 San Felipe Street, Suite
125, Houston, TX 77027, or another court reporting service through a person authorized to
administer oaths pursuant to Rule 28(a) of the Federal Rules of Civil Procedure.

          PLEASE TAKE FURTHER NOTICE that, in connection with the Deposition, the Trustee
will serve a subpoena duces tecum designating the documents indicated in Attachment B hereto
for production prior to the Deposition.

          PLEASE TAKE FURTHER NOTICE that the witness should have a government-issued
identification to provide to the court reporter/notary to confirm his identity at the commencement
of the deposition and before being sworn.
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 Dated: May 21, 2024                            Respectfully submitted,

                                                SHANNON & LEE LLP

                                                /s/R. J. Shannon                           .
                                                Kyung S. Lee (TBA No. 12128400)
                                                R. J. Shannon (TBA No. 24108062)
                                                2100 Travis Street, STE 1525
                                                Houston, TX 77002
                                                Telephone: (713) 714-5770
                                                Email: klee@shannonleellp.com
                                                         rshannon@shannonleellp.com

                                                Counsel to the Chapter 11 Trustee


                                  CERTIFICATE OF SERVICE

        The undersigned certifies that on May 21, 2024, a true and correct copy of the foregoing
document was served via (a) U.S.P.S. first class mail on the parties indicated in the attached service
list and (b) U.S.P.S. first class mail and email on the following parties:

Stephen W Sather
BARRON & NEWBURGER, P.C.
7320 N. MoPac Expwy., Suite 400
Austin, TX 78731
ssather@bn-lawyers.com

Andrew M. Troop
PILLSBURY WINTHROP SHALL PITTMAN LLP
31 West 52nd Street
New York, NY 10019-6131
andrew.troop@pillsburylaw.com

Reese W. Baker
BAKER & ASSOCIATES
950 Echo Lane, Suite 300
Houston, Texas 77024
reese.baker@bakerassociates.net

Ali Choudhri
2425 West Loop South 11th Floor
Houston, TX 77027
ali@jetallcapital.com

                                               R. J. Shannon
                                               R. J. Shannon




                                                  2
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Label Matrix for local noticing               2425 WL, LLC                            CC2 TX, LLC
0541-4                                        2425 West Loop South 11th floor         c/o Howard Marc Spector
Case 23-34815                                 Houston, TX 77027-4304                  Spector & Cox, PLLC
Southern District of Texas                                                            12770 Coit Road Suite 850
Houston                                                                               Dallas, TX 75251-1364
Tue May 21 12:20:59 CDT 2024
City of Houston                               Galleria 2425 Owner, LLC                (p)HARRIS COUNTY ATTORNEY’S OFFICE
Linebarger Goggan Blair & Sampson LLP         1001 West Loop South 700                P O BOX 2928
c/o Tara L. Grundemeier                       Houston, TX 77027-9084                  HOUSTON TX 77252-2928
PO Box 3064
Houston, TX 77253-3064

Hayward PLLC                                  Houston Community College System        Houston ISD
c/o Melissa Hayward                           Linebarger Goggan Blair & Sampson LLP   Linebarger Goggan Blair & Sampson LLP
10501 N. Central Expy., Ste. 106              c/o Tara L. Grundemeier                 c/o Tara L. Grundemeier
Dallas, TX 75231-2203                         PO Box 3064                             PO Box 3064
                                              Houston, TX 77253-3064                  Houston, TX 77253-3064

National Bank of Kuwait, S.A.K.P., New York   4                                       2425 WL, LLC
                                              United States Bankruptcy Court          13498 Pond Springs Rd.
                                              PO Box 61010                            Austin, TX 78729-4422
                                              Houston, TX 77208-1010


2425 West Loop, LLC                           ADT                                     Ali Choudhry
2000 Hughes Landing Blvd., Suite 815          PO Box 382109                           1001 West Loop South 700
The Woodlands, Texas 77380-4142               Pittsburgh, PA 15251-8109               Houston, TX 77027-9084



Arin-Air, Inc.                                Ash Automated Control Systems, LLC      CC2 TX, LLC
5710 Brittmoore Rd. #13                       PO Box 1113                             14800 Landmark Blvd., Suite 400
Houston, TX 77041-5627                        Fulshear, TX 77441-2013                 Dallas, TX 75254-7598



CFI Mechanical, Inc                           CNA Insurance Co                        Caz Creek Lending
6109 Brittmoore Rd                            PO Box 74007619                         118 Vintage Park Blvd No. W
Houston, TX 77041-5610                        Chicago, IL 60674-7619                  Houston, TX 77070-4095



Cirro Electric                                City of Houston                         City of Houston
PO Box 60004                                  PO Box 1560                             c/o Tara L. Grundemeier
Dallas, TX 75266                              Houston, TX 77251-1560                  Linebarger Goggan Blair & Sampson LLP
                                                                                      PO Box 3064
                                                                                      Houston, TX 77253-3064

Comcast                                       Datawatch Systems                       Environmental Coalition Inc
PO Box 60533                                  4520 East West Highway 200              PO Box 1568
City of Industry, CA 91716-0533               Bethesda, MD 20814-3382                 Stafford, TX 77497-1568



Ferguson Facilities Supplies                  Firetron                                (p)FIRST INSURANCE FUNDING
PO Box 200184                                 PO Box 1604                             450 SKOKIE BLVD SUITE 1000
San Antonio, TX 78220-0184                    Stafford, TX 77497-1604                 NORTHBROOK IL 60062-7917
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Gulfstream Legal Group                      H.N.B. Construction, LLC                HNB Construction, LLC
1300 Texas St                               c/o Malcolm D. Dishongh                 521 Woodhaven
Houston, TX 77002-3509                      PO Box 2347                             Ingleside, TX 78362-4678
                                            Humble, TX 77347-2347


Hayward PLLC                                Houston Community College System        Houston ISD
c/o Melissa S. Hayward                      c/o Tara L. Grundemeier                 c/o Tara L. Grundemeier
10501 N. Central Expy., Ste. 106            Linebarger Goggan Blair & Sampson LLP   Linebarger Goggan Blair & Sampson LLP
Dallas, TX 75231-2203                       PO Box 3064                             PO Box 3064
                                            Houston, TX 77253-3064                  Houston, TX 77253-3064

Jetall Companies, Inc                       Kings 111 Emergency Communications      Lexitas
1001 West Loop South Ste 700                751 Canyon Drive, Suite 100             PO Box Box 734298 Dept 2012
Houston, TX 77027-9033                      Coppell, TX 75019-3857                  Dallas, TX 75373-4298



Lloyd E. Kelley                             Logix Fiber Networks                    MacGeorge Law Firm
2726 Bissonent Suite 240                    PO Box 734120                           2921 E 17th St Blgd D Suite 6
Houston, TX 77005-1352                      Dallas, TX 75373-4120                   Austin, TX 78702-1572



Mueller Water Treatment                     Naissance Galleria, LLC                 National Bank of Kuwait
1500 Sherwood Forest Dr.                    c/o Law Office of Nima Taherian         299 Park Ave. 17th Floor
Houston, TX 77043-3899                      701 N. Post Oak Rd. Ste 216             New York, NY 10171-0023
                                            Houston, TX 77024-3868


Nationwide Security                         Nichamoff Law Firm                      Rodney L. Drinnon
2425 W Loop S 300                           2444 Times Blvd 270                     2000 West Loop S, Ste. 1850,
Houston, TX 77027-4205                      Houston, TX 77005-3253                  Houston, Texas 77027-3744



TKE                                         U.S. Trustee’s Office                   US Retailers LLC d/b/a Cirro Energy
3100 Interstate North Cir SE 500            515 Rusk, Suite 3516                    Attention: Bankruptcy Department
Atlanta, GA 30339-2296                      Houston, Texas 77002-2604               PO Box 3606
                                                                                    Houston, TX 77253-3606


US Trustee                                  Waste Management                        Zindler Cleaning Service Co
Office of the US Trustee                    PO Box 660345                           2450 Fondren 113
515 Rusk Ave                                Dallas, TX 75266-0345                   Houston, TX 77063-2314
Ste 3516
Houston, TX 77002-2604

Ali Choudhri                                Christopher R Murray                    James Q. Pope
24256 West Loop South                       Jones Murray LLP                        The Pope Law Firm
11th Floor                                  602 Sawyer St                           6161 Savoy Drive
Houston, TX 77027                           Ste 400                                 Ste 1125
                                            Houston, TX 77007-7510                  Houston, TX 77036-3343

Reese W Baker                               Rodney Drinnon
Baker & Associates                          McCathern Houston
950 Echo Lane                               2000 W Loop S
Suite 300                                   Ste. 1850
Houston, TX 77024-2824                      Houston, TX 77027-3744
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Harris County, ATTN: Property Tax Division           First Insurance Funding                              (d)Harris County Tax Assessor
Harris County Attorney’s Office                      450 Skokie Blvd                                      PO Box 4622
P.O. Box 2928                                        Northbrook, IL 60062                                 Houston, TX 77210
Houston, TX 77252-2928 United States


(d)Harris County, et al
PO Box 2928
Houston, TX 77252




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)2425 West Loop, LLC                               (u)Sonder USA Inc.                                   (d)Arin-Air, LLC
                                                                                                          5710 Brittmoore Rd. #13
                                                                                                          Houston, TX 77041-5627



(du)Sonder USA Inc.                                  (u)Jack Rose                                         End of Label Matrix
                                                                                                          Mailable recipients    58
                                                                                                          Bypassed recipients     5
                                                                                                          Total                  63
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                                         ATTACHMENT A

                                      DEPOSITION TOPICS

          Pursuant to Fed. R. Civ. P. 30(b)(6), Christopher R. Murray (the “Trustee”), the chapter 11

Trustee in the above-captioned case, will conduct a deposition of Galleria 2425 Owner, LLC on

the following topics (the “Topics”) indicated below.

                                             Definitions

          The following definitions of terms apply to the Topics. Unless otherwise defined herein,

all words and phrases used herein shall be accorded their usual meanings and shall be interpreted

in their common, ordinary sense.

          1.     “2425 WL” means 2425 WL, LLC, along with its agents, employees, attorneys,

representatives, affiliates, consultations, and all other persons acting or purporting to act on its

behalf.

          2.     “2425 WL DOT” means the ‘Deed of Trust’ between the Debtor and 2425 WL filed

in the real property records of Harris County on May 11, 2021.

          3.     “2425 WL Note” means the notice indicated in the 2425 WL DOT.

          4.     “Affiliate” has the meaning set forth in 11 U.S.C. § 101(2).

          5.     The terms “Communication” or “Communications” means the statement or

transmission of facts, information, advice, counsel, and/or inquiry from one person to another,

whether orally, in writing, by acts or actions, by signs, by appearances, electronically,

telephonically, or otherwise.

          6.     “Choudhri” means the individual commonly referred to as Ali Choudhri who

asserts to be in control of the Debtor and has appeared in his individual capacity in the Current
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Chapter 11 Case and his agents, employees, attorneys, representatives, consultants, and all other

persons acting or purporting to act on his behalf.

       7.      “Current Chapter 11 Case” means Case No. 23-24815 before the United States

Bankruptcy Court for the Southern District of Texas.

       8.      “Confidential Settlement Agreement” the Document titled ‘Confidential Settlement

Agreement’ dated August 22, 2022, and signed by (a) Marwan Isbaih on behalf of NBK, (b)

Choudhri on behalf of the Debtor, (c) Choudhri on behalf of Naissance Galleria, LLC., and (d)

Choudhri in his individual capacity.

       9.      “Debtor,” “You,” “Your”, or Yours” means Galleria 2425 Owner, LLC, along with

its agents, employees, attorneys, representatives, affiliates, consultants, and all other persons acting

or purporting to act on its behalf.

       10.     “Document” shall be given the broadest possible interpretation consistent with the

applicable rules of procedure, including but not limited to, the original or a copy of any graphic

material of any kind or nature whatsoever, including electronically stored information, however

produced or reproduced, any writing, drawing, graph, chart, photograph, telephone record, tape

recording, video tape, or other data compilation in which information can be reproduced or

obtained, including computer tapes, disks, storage devices, or print-outs, which are in your

possession, custody, control, or known by you to exist, including, without limiting the generality

of the foregoing, all drafts, contracts, diaries, calendars, desk pads, correspondence,

communications, emails, memoranda, notes, studies, reports, lists, minutes, and entries in books

of any account relating or referring in any way to the subject matter of these requests. The term

“Document” shall also mean all copies of a documents by whatever means made, except where a




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document is identified or produced, identical copies which do not contain any markings, additions,

or deletions, different from the original document, need not be separately identified or produced.

          11.   “Jetall” means Jetall Companies, Inc. along with its agents, employees, attorneys,

representatives, affiliates, consultants, and all other persons acting or purporting to act on its

behalf.

          12.   “Jetall Lease” means the ‘Lease Agreement’ dated May 13, 2015, between 2425

West Loop, LP and Jetall and subsequent amendments thereto.

          13.   “Jetall Lease 2016 Amendment” means the ‘First Amendment to Lease

Agreement,’ dated April 6, 2018, between 2425 WL and Jetall.

          14.   “Jetall Lease 2019 Amendment” means the ‘Second Amendment to Lease

Agreement,’ dated February 1, 2019, between the Debtor and Jetall.

          15.   “Jetall Lease 2022 Amendment” means the ‘Third Amendment to Lease

Agreement,’ dated August 1, 2022, between the Debtor and Jetall.

          16.   “Naissance Galleria” means Naissance Galleria, LLC along with its agents,

employees, attorneys, representatives, affiliates, consultants, and all other persons acting or

purporting to act on its behalf.

          17.   “NBK” means the National Bank of Kuwait, S.A.K.P., New York Branch, along

with its agents, employees, attorneys, representatives, affiliates, consultants, and all other persons

acting or purporting to act on its behalf.

          18.   “NBK Loan” means the Loan Agreement dated May 23, 2018, among the Debtor

and NBK and any Documents effectuating the transaction pursuant thereto, including (a) the

‘Promissory Note’ dated May 23. 2018, issued by the Debtor to NBK; (b) the ‘Deed of Trust,

Assignment of Rents and Profits, Security Agreement, and Fixture Filing’ dated May 23, 2018,



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among the Debtor and NBK; and (c) the ‘Absolute Assignment of Leases and Rents’ dated May

23, 2018, between the Debtor and NBK.

        19.     “Person” has the meaning set forth in 11 U.S.C. § 101(41).

        20.     “Real Property” means the real property located at 2425 West Loop South,

Houston, TX, 77027, including the building and all other improvements thereon.

        21.     “Settlement Statement” means the document titled ‘Settlement Statement’

reflecting the transaction in which the Debtor acquired the Real Property.

        22.     “Trustee” means Christopher R. Murray

        23.     The terms “and” and “or” shall be interpreted in every instance as meaning “and/or”

and shall not, in either instance, be interpreted disjunctively to exclude any document or

information otherwise within the scope of any description or request herein.

                                              Topics

        1.      Your current and historic ownership, organizational, and management structure.

        2.      The facts and circumstances surrounding Your acquisition of the Real Property

from 2425 WL, including any financing related thereto.

        3.      The facts and circumstances surrounding the 2425 WL DOT, including its (a)

creation, (b) execution, and (c) filing.

        4.      The facts and circumstances surrounding the 2425 WL Note, including its (a)

creation, (b) execution, and (c) any consideration provided.

        5.      The Jetall Lease 2018 Amendment, Jetall Lease 2019 Amendment, and Jetall Lease

2022 Amendment, including any disclosure or approval thereof.

        6.      Facts and circumstances surrounding Your allegation that NBK breached the

Confidential Settlement Agreement.



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        7.       Your efforts to market the Real Property for sale since August 22, 2022, and the

results of any such marketing process.

        8.       The facts and circumstances surrounding any offers or indications of interest to

purchase the Real Property or NBK’s position from August 22, 2022, to the present, including (a)

the entities involved, (b) their relationship to the Debtor or Choudhri, and (c) any Documents

reflecting such offers or indications of interest.

        9.       Your negotiations with Paul Caldwell regarding any potential acquisition of the

Real Property.

        10.      The facts and circumstances surrounding Your allegations that Azeemah Zaheer

assigned control over Naissance Galleria, including (a) any Documents or Communications

reflecting or evidencing such assignment and (b) the execution of any such Documents.

        11.      Any Document produced by or requested from You in advance of the Deposition.




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                                            EXHIBIT B

                                  DOCUMENT PRODUCTION

          Christopher R. Murray (the “Trustee”) requests the production of documents (the

“Document Requests”) as set forth herein.

                                             Definitions

          The following definitions of terms apply to these Document Requests. Unless otherwise

defined herein, all words and phrases used herein shall be accorded their usual meanings and shall

be interpreted in their common, ordinary sense.

          1.     “2425 WL” means 2425 WL LLC, along with its agents, employees, attorneys,

representatives, affiliates, consultations, and all other persons acting or purporting to act on its

behalf.

          2.     “2425 WL DOT” means the ‘Deed of Trust’ between the Debtor and 2425 WL filed

in the real property records of Harris County on May 11, 2021.

          3.     “2425 WL Note” means the notice indicated in the 2425 WL DOT.

          4.     “Affiliate” has the meaning set forth in 11 U.S.C. § 101(2).

          5.     The terms “Communication” or “Communications” means the statement or

transmission of facts, information, advice, counsel, and/or inquiry from one person to another,

whether orally, in writing, by acts or actions, by signs, by appearances, electronically,

telephonically, or otherwise.

          6.     “Choudhri” means the individual commonly referred to as Ali Choudhri who

asserts to be in control of the Debtor and has appeared in his individual capacity in the Current

Chapter 11 Case and his agents, employees, attorneys, representatives, consultants, and all other

persons acting or purporting to act on his behalf.
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       7.      “Current Chapter 11 Case” means Case No. 23-24815 before the United States

Bankruptcy Court for the Southern District of Texas.

       8.      “Confidential Settlement Agreement” the Document titled ‘Confidential Settlement

Agreement’ dated August 22, 2022, and signed by (a) Marwan Isbaih on behalf of NBK, (b)

Choudhri on behalf of the Debtor, (c) Choudhri on behalf of Naissance Galleria, LLC., and (d)

Choudhri in his individual capacity.

       9.      “Debtor,” “You,” “Your”, or “Yours” means Galleria 2425 Owner, LLC, along

with its agents, employees, attorneys, representatives, affiliates, consultants, and all other persons

acting or purporting to act on its behalf.

       10.     “Document” shall be given the broadest possible interpretation consistent with the

applicable rules of procedure, including but not limited to, the original or a copy of any graphic

material of any kind or nature whatsoever, including electronically stored information, however

produced or reproduced, any writing, drawing, graph, chart, photograph, telephone record, tape

recording, video tape, or other data compilation in which information can be reproduced or

obtained, including computer tapes, disks, storage devices, or print-outs, which are in your

possession, custody, control, or known by you to exist, including, without limiting the generality

of the foregoing, all drafts, contracts, diaries, calendars, desk pads, correspondence,

communications, emails, memoranda, notes, studies, reports, lists, minutes, and entries in books

of any account relating or referring in any way to the subject matter of these requests. The term

“Document” shall also mean all copies of a document by whatever means made, except where a

document is identified or produced, identical copies which do not contain any markings, additions,

or deletions, different from the original document, need not be separately identified or produced.




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          11.   “Jetall” means Jetall Companies, Inc. along with its agents, employees, attorneys,

representatives, affiliates, consultants, and all other persons acting or purporting to act on its

behalf.

          12.   “Jetall Lease” means the ‘Lease Agreement’ dated May 13, 2015, between 2425

West Loop, LP and Jetall and subsequent amendments thereto.

          13.   “Jetall Lease 2016 Amendment” means the ‘First Amendment to Lease Agreement’

dated April 6, 2018, between 2425 WL and Jetall.

          14.   “Jetall Lease 2019 Amendment” means the ‘Second Amendment to Lease

Agreement,’ dated February 1, 2019, between the Debtor and Jetall.

          15.   “Jetall Lease 2022 Amendment” means the ‘Third Amendment to Lease

Agreement,’ dated August 1, 2022, between the Debtor and Jetall.

          16.   “Naissance Galleria” means Naissance Galleria, LLC along with its agents,

employees, attorneys, representatives, affiliates, consultants, and all other persons acting or

purporting to act on its behalf.

          17.   “NBK” means the National Bank of Kuwait, S.A.K.P., New York Branch, along

with its agents, employees, attorneys, representatives, affiliates, consultants, and all other persons

acting or purporting to act on its behalf

          18.   “NBK Loan” means the Loan Agreement dated May 23, 2018, among the Debtor

and NBK and any Documents effectuating the transaction pursuant thereto, including (a) the

‘Promissory Note’ dated May 23. 2018, issued by the Debtor to NBK; (b) the ‘Deed of Trust,

Assignment of Rents and Profits, Security Agreement, and Fixture Filing’ dated May 23, 2018,

among the Debtor and NBK; and (c) the ‘Absolute Assignment of Leases and Rents’ dated May

23, 2018, between the Debtor and NBK.



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       19.     “Person” has the meaning set forth in 11 U.S.C. § 101(41).

       20.     “Real Property” means the real property located at 2425 West Loop South,

Houston, TX, 77027, including the building and all other improvements thereon.

       21.     “Settlement Statement” means the document titled Settlement Statement reflecting

the transaction in which the Debtor acquired the Real Property.

       22.     “Trustee” means Christopher R. Murray

       23.     The terms “and” and “or” shall be interpreted in every instance as meaning “and/or”

and shall not, in either instance, be interpreted disjunctively to exclude any document or

information otherwise within the scope of any description or request herein.

                                           Instructions

       1.      The preceding Definitions apply to these Instructions and each of the succeeding

Document Requests.

       2.      Documents covered by the Document Requests include all responsive Documents

in Your possession, custody, or control.

       3.      Each Document Request shall be deemed to be continuing in nature. If at any time

additional Documents responsive to the Document Requests come into Your possession, custody,

or control or are brought to Your attention, prompt supplementation of Your response to these

Document Requests is required.

       4.      If, in responding to the Document Requests, You believe there are ambiguities in a

request or definition, the response shall set forth the matter deemed ambiguous and the

construction used in responding.

       5.      You shall produce all Documents in the manner in which they are maintained in the

ordinary course of you business, and/or You shall organize and label the Documents to correspond



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with the categories in this request. A request for a Document shall be deemed to include a request

for any and all file folders within which the Document was contained, transmittal sheets, cover

letters, exhibits, enclosures, or attachments to the Document in addition to the Document itself.

       6.      Documents attached to each other should not be separated.

       7.      Except as provided in the following paragraph, the responsive material and

documents should be produced in Native Format and converted into searchable Tagged Image File

Format (FIFF), unless otherwise specified. All metadata associated with the responsive material

and documents shall be maintained. For material documents that cannot be converted into TIFF,

notify the requesting party of the intended form of production that is either reasonably usable or

as it is ordinarily kept. All data responsive to the requests shall be provided in user-readable format

(.txt or similar file types), or as otherwise agreed in supplemental writing by the parties. For any

electronically stored information produced:

            a. Searchable Database Files: Provide document images and database load files that

               are in a standard format with the following minimum characteristics:

                    i. Images: Images will be delivered in multi-page TIFF images, scanned at

                       300 dpi or more. Each imaged page will be branded with a unique sequential

                       number consisting of an alpha prefix and numeric digits (“Bates Number”);

                   ii. Document Breaks: Physical document boundaries will be capted during

                       scanning and the load file will reflect those document boundaries. A

                       document break will indicate where folders, redwells, binders, clips, ruber

                       bands, staples, etc. originally appeared; and

            b. OCR Data: Document OCR will be performed. OCR will be provided on a

               document level.



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             c. Document Index: For each document production, you shall provide an index

                containing the following values for each document:

                    i. Beginning Bates Number;

                   ii. Ending Bates Number; and

                  iii. The Document’s custodian.

       8.       To the extent that You believe production according to the preceding paragraph is

unduly burdensome, You shall (a) produce responsive material in a manner that provides

substantially the same information as above and (b) advise the Trustee and his counsel of the

manner of production and the particular requirements of the preceding paragraph You believe were

unduly burdensome and with which You are not complying.

       9.       If any document within the scope of this request has been destroyed, that Document

shall be identified including identification of (i) its author(s); (ii) intended or unintended

recipient(s); (iii) addressee(s); (iv) intended or unintended recipients of bling copies; (v) date; and

(vi) subject matter. The circumstances of such destruction shall be set forth, and any Documents

relating to such destruction shall be produced.

       10.      In producing Documents and other materials, You are requested to furnish all

Documents or things in Your possession, custody, or control, regardless of whether such

Documents or materials are possessed by You directly.

       11.      If You object to any part of any request, You shall state fully the nature of the

objection. Notwithstanding any objections, You shall nonetheless comply fully with the other parts

of the request not objected to.




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       12.       The Trustee reserves the right to request additional documents as needed and to

submit additional or supplemental document requests, provided, further, that the Trustee expressly

reserves his rights to supplement or amend the Document Requests.

                                        Document Requests

       1.        All documents reflecting, describing, or evidencing Your corporate structure and

management, including but not limited to any (a) company agreement, (b) the membership

interests in the Debtor (c) management of the Debtor, and (d) basis for Choudhri to act on behalf

of the Debtor.

       2.        Communications or Documents referencing, describing, or evidencing the

preparation and drafting of the 2425 WL Note.

       3.        Communications and other Documents referencing, describing, or evidencing any

consideration 2425 WL provided to the Debtor in exchange for the Note.

       4.        Communications and other Documents referencing, describing, or evidencing any

indebtedness of the Debtor to 2425 WL prior to May 11, 2021.

       5.        Communications or Documents referencing, describing, or evidencing any

indebtedness of the Debtor to 2425 WL on or after May 11, 2021.

       6.        Communications or Documents referencing, describing, or related to the 2425 WL

DOT, including its execution.

       7.        Communications or Documents exchanged with Azeemah Zaheer, Naissance

Capital Real Estate, LLC, or Galleria 2425 JV, LLC regarding the 2425 WL Note.

       8.        Communications or Documents referencing, describing, or evidencing the

distribution of funds from the closing of your acquisition of the Real Property from 2425 WL.

       9.        The final version and any drafts of the Settlement Statement.



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       10.       Communications or Documents referencing, describing, or evidencing the

preparation of the Settlement Statement.

       11.       Communications or Documents referencing, describing, or evidencing the “Seller

Credit” indicated on the Settlement Statement.

       12.       All Communications or Documents exchanged with NBK in connection with the

sale of the Real Property on or before May 23, 2018.

       13.       All Communications or Documents exchanged with 2425 WL in connection with

the Sale of the Real Property on or before May 23, 2018.

       14.       All communications or Documents exchanged with Jetall, the Debtor, or NBK

regarding the Jetall Lease 2016 Amendment, the Jetall Lease 2019 Amendment, and/or Jetall Lease

2022 Amendment.

       15.       All Communications or Documents providing Choudhri authority to act on behalf

of the Debtor.

       16.       All Communications or Documents providing Choudhri’s authority to act on behalf

of Galleria 2425 JV, LLC.

       17.       All Communications or Documents reflecting an obligation of the Debtor to Jetall

Capital, LLC.

       18.       All Communications or Documents reflecting an obligation of the Debtor to Ali

Choudhri.




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